                Case:
ILND 450 (Rev. 10/13)    1:20-cv-04001
                      Judgment in a Civil Action   Document #: 26 Filed: 11/19/20 Page 1 of 1 PageID #:908

                                         IN THE UNITED STATES DISTRICT COURT
                                                       FOR THE
                                            NORTHERN DISTRICT OF ILLINOIS

T & E Chicago LLC,

Plaintiff(s),
                                                                    Case No. 20 C 4001
v.                                                                  Judge Harry D. Leinenweber

The Cincinnati Insurance Company,

Defendant(s).

                                                     JUDGMENT IN A CIVIL CASE

Judgment is hereby entered (check appropriate box):

                    in favor of plaintiff(s)
                    and against defendant(s)
                    in the amount of $       ,

                              which          includes       pre–judgment interest.
                                             does not include pre–judgment interest.

          Post-judgment interest accrues on that amount at the rate provided by law from the date of this judgment.

          Plaintiff(s) shall recover costs from defendant(s).


                    in favor of defendant(s) The Cincinnati Insurance Company
                    and against plaintiff(s) T & E Chicago LLC
.
          Defendant(s) shall recover costs from plaintiff(s).


                    other:

This action was (check one):

     tried by a jury with Judge Harry D. Leinenweber presiding, and the jury has rendered a verdict.
     tried by Judge Harry D. Leinenweber without a jury and the above decision was reached.
     decided by Judge Harry D. Leinenweber on a motion to dismiss [12].



Date: 11/19/2020                                                 Thomas G. Bruton, Clerk of Court

                                                                 Melanie A. Foster, Deputy Clerk
